Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 1 of 11 PageID# 2605



                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                   Case No. 1:18-cv-00950-LO-JFA
                 v.

  COX COMMUNICATIONS, INC., et al.,

                         Defendants.


               MEMORANDUM IN SUPPORT OF COX’S OBJECTIONS TO
                 MAGISTRATE JUDGE’S NON-DISPOSITIVE RULING

        Pursuant to Local Civil Rule 72, Federal Rule of Civil Procedure 72(a), and 28 U.S.C.A. §

 636, Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”) hereby

 object to portions of Magistrate John F. Anderson’s February 27, 2019 Order (“Order”) (ECF No.

 113) denying two motions to seal certain exhibits to Plaintiffs’ discovery motions that constituted

 Cox’s confidential and commercially-sensitive information designated as Highly Confidential—

 Attorneys’ Eyes Only.

 I.     INTRODUCTION

        In connection with discovery motions filed with Magistrate Judge Anderson, Plaintiffs

 submitted a number of trial exhibits from BMG Rights Management v. Cox Communications, Inc.,

 Case No. 1:14cv1611 (“the BMG litigation”) that had been designated by Cox as “Highly

 Confidential—Attorneys’ Eyes Only” under the Stipulated Protective Order when they were

 produced in the BMG litigation and when they were provided to Plaintiffs in this case. Because

 these exhibits contained Cox’s highly confidential and commercially-sensitive information, Cox

 filed memoranda supporting Plaintiffs’ Motion for Temporary Sealing in accordance with Federal

 Rule 26 and Local Civil Rule 5(C). See ECF Nos. 76, 99 and 106 (Plaintiffs’ Motions for



                                                -1-
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 2 of 11 PageID# 2606



 Temporary Sealing); ECF Nos. 90, 104 and 111 (Cox’s memoranda in support). In all three

 instances, Plaintiffs argued that the documents were not confidential because they had been used

 as exhibits in the public BMG trial but did not otherwise dispute that the exhibits contained Cox’s

 confidential information. See ECF Nos. 76, 99, and 106.

        In an order dated January 31, 2019, Judge Anderson granted the first motion to seal two

 exhibits at issue, a discovery response showing the number of subscribers that Cox warned,

 suspended, and terminated for copyright infringement over a six-year period and a written

 transcript of a portion of the videotaped deposition testimony of one of Cox’s witnesses,

 notwithstanding the fact that both exhibits were admitted into evidence in the BMG trial. See ECF

 No. 91. Because Plaintiffs had submitted these exhibits in connection with a non-dispositive

 discovery motion, Judge Anderson properly applied the standard relating to “the less stringent

 common law access set forth in Virginia Department of State Police v. The Washington Post, 386

 F.3d 567, 575 (4th Cir. 2004)” in sealing the exhibits, crediting Cox’s submission that the exhibits

 “contain confidential and commercially sensitive information” and noting that the exhibits

 “contain extraneous information that was not used in the briefing on motion to compel or in

 argument.” Id.1

        On February 8 and 15, 2019, Cox filed memoranda in support of Plaintiffs’ Motions for

 Temporary Sealing of a number of other BMG trial exhibits that contained Cox’s confidential and

 proprietary information regarding its CATS system, internal Cox communications relating to its

 procedures for responding to notices of alleged copyright infringement, and internal Cox



 1
   As set forth in more detail below, Virginia Dep’t of State Police distinguished between a
 “common law” right of access, in which the public’s right to inspect judicial records is weighed
 against the party’s interest in confidentiality, and the First Amendment right of access, in which
 “a district court may restrict access ‘only on the basis of a compelling governmental interest, and
 only if the denial is narrowly tailored to serve that interest.’” 386 F.3d at 575.


                                                -2-
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 3 of 11 PageID# 2607



 documents and manuals discussing how Cox addresses copyright notices in addition to other

 serious Internet threats, such as spamming and hacking. See ECF Nos. 104 and 111. On February

 27, 2019, Judge Anderson denied Plaintiffs’ Motions with respect to these exhibits on the grounds

 that they were admitted into evidence in the BMG trial, cited by district court and appellate orders

 in the BMG litigation, and that the exhibits “were considered by the court in deciding [Plaintiffs’]

 motion to compel.” See ECF No. 113 (herein after, “Order”) (citations omitted).

        Cox is not objecting to Judge Anderson’s Order in its entirety, but rather specifically seeks

 to keep two internal Cox procedures documents and a portion of one internal Cox email under seal

 on the grounds that the documents (or the portions thereof specifically referenced in these

 objections) were not quoted in any BMG orders, contain Cox’s commercially-sensitive information

 that could assist users in circumventing Cox’s procedures in responding to notices of copyright

 infringement and Internet security threats, and therefore satisfy the relevant standard for sealing

 documents in connection with a non-dispositive motion. For the reasons set forth below, Cox

 respectfully objects to Judge Anderson’s Order and requests that the Court seal certain of the

 documents at issue in the manner outlined below.

 II.    LEGAL STANDARD

        Pursuant to Local Rule 72, Federal Rule 72(a), and 28 U.S.C. § 636(b)(1)(A), a district

 court can modify or set aside any portion of a magistrate judge’s final orders on non-dispositive

 pretrial matters that is “clearly erroneous or contrary to law.” Fed. R. Civ. P. 72(a); see also 28

 U.S.C. § 636(b)(1)(A) (same); see also Bruce v. Hartford, 21 F. Supp. 3d 590, 594 (E.D. Va. 2014)

 (factual portions of a Magistrate Judge’s order should be reviewed under the clearly erroneous

 standard and legal conclusions should be reviewed to determine if they are contrary to law). This

 district has found that sealing orders are non-dispositive within the meaning of Federal Rule 72(a).




                                                -3-
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 4 of 11 PageID# 2608



 See White v. Chapman, No. 1:14CV848 JCC/IDD, 2015 WL 4360329, at *2 (E.D. Va. July 14,

 2015).

          In applying the “clearly erroneous” standard, “a reviewing court must ask whether, on the

 entire evidence, it is left with the definite and firm conviction that a mistake has been committed.”

 Harman v. Levin, 772 F.2d 1150, 1153 (4th Cir. 1985) (citations omitted). A mistake is present if

 upon review the Court finds the factual finding “so improbable as to belie belief, or is incredible

 on the admitted facts, or is inconceivable, or is internally inconsistent.” Fed. Election Comm’n v.

 Christian Coal., 178 F.R.D. 456, 460 (E.D. Va. 1998) (citing Moore’s Federal Practice 3d at §

 206.03[2]). Furthermore, an order is “contrary to law” if it misapplies the “relevant statutes, case

 law, or rules of procedure.” Attard Indus., Inc. v. U.S. Fire Ins. Co., No. 1:10CV121 AJT/TRJ,

 2010 WL 3069799, at *1 (E.D. Va. Aug. 5, 2010). Legal conclusions are reviewed by the district

 judge de novo under Rule 72(a). Stradtman v. Republic Servs., Inc., No. 1:14CV1289 JCC/JFA,

 2015 WL 2451850, at *2 (E.D. Va. May 21, 2015) (citing PowerShare, Inc. v. Syntel, Inc., 597

 F.3d 10, 15 (1st Cir. 2010)) (clarifying that for questions of law “there is no practical difference

 between review under Rule 72(a)’s ‘contrary to law’ standard and [a] de novo standard”); see also

 Attard, 2010 WL 3069799, at *1 (E.D. Va. Aug. 5, 2010).

 III.     COX’S OBJECTIONS

          A.     Judge Anderson Erred in Denying the Motion to Seal on the Grounds that
                 All of the Exhibits Had Been Publicly Disclosed in the BMG Litigation

          Judge Anderson denied Plaintiffs’ Motions for Temporary Sealing in part on the grounds

 that “significant portions of these exhibits were cited by the District Judge and the Court of the

 [sic] Appeals for the Fourth Circuit in their public opinions in this case.” Order at 2.2 Judge



 2
   Based on the sentences immediately following this holding, it is clear that the “public opinions”
 referenced are opinions from the BMG litigation, not opinions “in this case.”


                                                 -4-
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 5 of 11 PageID# 2609



 Anderson went on to conclude that “many” of the emails and exhibits at issue were either quoted

 or discussed by the Court in three opinions from the BMG litigation. Id. at 3.

        However, two of the exhibits Cox seeks to seal, PX 1330 (Cox’s Residential Abuse Ticket

 Handling Procedures) and PX 1456 (a CATS abuse ticket), were not quoted at all in any public

 opinion in the BMG litigation. While Cox’s procedures for responding to notices of alleged

 copyright infringement are generally described in certain of these orders,3 the Court did not quote

 from them or describe any portion of them. Cox established in its memoranda supporting sealing

 that these exhibits are confidential because PX 1330 contains proprietary business information,

 undisclosed to its subscribers, describing how Cox responds to copyright infringement complaints

 and security threats such as hacking; and PX 1456 discloses proprietary CATS information. See

 ECF No. 111; id. at Ex. 1. Both of these exhibits contain information concerning Cox’s internal

 processes which could be circumvented by Cox’s account-holders if released.

        PX 1330 is a 73-page internal Cox manual that lays out in detail Cox’s procedures for

 responding to notices of alleged copyright infringement, serious security threats including fraud,

 hacking, malware, phishing, and “denial of service” attacks. Only a few pages of this manual

 relate to copyright infringement4, and the portions relating to these security threats are not relevant

 at all to the issues in Plaintiffs’ discovery motions. ECF No. 111 at 2. And PX 1456 is a CATS




 3
   One page of Exhibit PX 1330, laying out Cox’s graduated response procedures, was summarized
 in the BMG orders. See BMG Rights Mgmt. (US) LLC v. Cox Commc'ns, Inc., 149 F. Supp. 3d
 634, 640 (E.D. Va. 2015), aff'd in part, rev'd in part, 881 F.3d 293 (4th Cir. 2018) (generally
 describing Cox’s CATS system and the steps of the graduated response); see also BMG Rights
 Mgmt. (US) LLC v. Cox Commc'ns, Inc., 199 F. Supp. 3d 958, 965 (E.D. Va. 2016), aff'd in part,
 rev'd in part, 881 F.3d 293 (4th Cir. 2018) (briefly describing Cox’s Abuse Group, the graduated
 response, and the requisites for accepting a notification). Exhibit PX 1456 was neither quoted nor
 referenced in any of the public BMG opinions.
 4
   Specifically, all or part of Pages 9-13 in the “COPYOTHER” section relate to “Copyright
 Infringement Take-down Notices.”


                                                  -5-
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 6 of 11 PageID# 2610



 abuse ticket that shows a detailed history of Cox’s responses to various types of issues arising from

 a particular IP address, including specific action on specific dates that Cox took in response to

 notifications of alleged copyright infringement (as well as relating to bandwidth usage

 notifications). The portions unrelated to copyright infringement are irrelevant to the issues that

 were raised in Plaintiffs’ discovery motions. And, as Cox explained, even though its procedures

 relating to copyright and other security threats have evolved with time, the present procedures still

 incorporate those described in PX 1330 and thus revealing the exhibit could help a subscriber

 circumvent Cox’s current processes. ECF No. 111 at 4-5; ECF No. 111-1 (Declaration of Cox’s

 Assistant General Counsel Marcus Delgado, hereinafter “Delgado Decl.”). While Plaintiffs

 referenced only small portions of these exhibits in their discovery motions, they filed each exhibit

 in its entirety. See ECF No. 111 at 1.

          Furthermore, one of the internal Cox emails at issue contains confidential information that

 (1) was not quoted or referenced in any BMG order, and (2) was not relied on by Plaintiffs or Judge

 Anderson in connection with Plaintiffs’ discovery motions:

          Specifically, PX 1340 contains screenshots and excerpts of information drawn from Cox’s

 proprietary CATS system, maintained in confidence and undisclosed to its competitors,

 subscribers, and the public. While the BMG order quotes a single phrase written by a Cox customer

 safety manager,5 other portions of the exhibit6 discuss Cox’s procedures regarding the number of

 copyright notices accepted from certain complainants, reflect Cox’s communications with a third

 party about such limitations, and show a screenshot from CATS. These portions were not quoted

 or referenced in any BMG order and are not relevant to the issues raised in Plaintiffs’ discovery




 5
     See BMG Rights Mgmt., 199 F. Supp. 3d 958, 967 (E.D. Va. 2016).
 6
     Specifically, the bottom of Page 2 and Page 3 of the exhibit, Bates COX_BMG00207510-11.


                                                 -6-
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 7 of 11 PageID# 2611



 motions.   The referenced portion of this email reveals Cox’s methods and procedures for

 responding to notifications of alleged copyright infringement. If disclosed, account holders could

 use the information to circumvent Cox’s processes for addressing complaints of copyright

 infringement. See ECF No. 104 at 2; Delgado Decl. at 2.

        Finally, Judge Anderson erred by finding that Cox “ignore[d] the fact that these exhibits

 were …admitted into evidence during the public trial in the BMG litigation.” Order at 2. As set

 forth in Cox’s sealing memoranda, there is no evidence that anyone other than the judge, jury, and

 counsel saw these exhibits during the BMG trial. See ECF No. 104 and 111. Moreover, an exhibit

 does not lose confidentiality just because it was used at trial—a point explicitly referenced in the

 parties’ Stipulated Protective Order in the BMG litigation.7 See, e.g., Syngenta Crop Prot., LLC v.

 Willowood, LLC, No. 1:15-CV-274, 2017 WL 6001818, at *1 (M.D.N.C. Dec. 4, 2017) (granting

 in part motion to seal admitted trial exhibits following trial); see also Littlejohn v. Bic Corp., 851

 F.2d 673, 683 (3d Cir. 1988) (holding that admitted trial exhibits were no longer part of the “public

 record” where, following a trial, the parties settled and the exhibits were returned to the producing

 party). In any event, Judge Anderson did not find this fact dispositive in denying Cox’s requests

 to seal the BMG trial exhibits at issue in this motion. See Order at 2-3. Indeed, Judge Anderson

 granted Plaintiffs’ motion to seal two other documents despite the fact that they both were utilized

 as exhibits in the BMG trial. See ECF No. 91 at 2. Therefore, the fact that these documents were

 used at trial in the BMG litigation does not provide an independent basis to deny Plaintiffs’ Motions




 7
  The Protective Order entered in the BMG litigation, under which these exhibits were designated
 by Cox, provides:
       The Parties agree that the use of Protected Information at trial or other court
       hearings in this case shall not constitute a waiver of or operate in prejudice
       to any claim of confidentiality in the Protected Information.
 See BMG litigation, ECF No. 46, § 8.9.

                                                 -7-
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 8 of 11 PageID# 2612



 for Temporary Sealing.

        For these reasons, Cox respectfully submits that Judge Anderson erred in denying Cox’s

 requests to seal all of the documents at issue with a blanket ruling that all of the documents were

 revealed in public opinions in the BMG litigation. The exhibits, or portions thereof, discussed

 above that contain confidential proprietary Cox information that were not quoted in public BMG

 opinions should remain under seal.

        B.      Judge Anderson’s Order Was Contrary to Law

        Cox further objects to the Order on the grounds that it misapplied Fourth Circuit law. As

 Judge Anderson recognized in ruling on Plaintiffs’ first Motion for Temporary Sealing, where a

 motion “involves a non-dispositive issue,” the right of the public to inspect judicial records and

 documents can be “rebutted if countervailing interests heavily outweigh the public interests in

 access.” Virginia Dep't of State Police v. Washington Post, 386 F.3d 567, 575 (4th Cir. 2004)

 (quoting Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir.1988)). See ECF No.

 91 at 1-2. On the other hand, a moving party must establish the existence of a “compelling

 governmental interest” in having materials filed under seal in the context of a dispositive motion,

 such as a motion for summary judgment, which implicates the public’s First Amendment rights to

 inspect judicial records. Virginia Dep’t of State Police, 386 F.3d at 575.

        Judge Anderson’s January 31, 2019 Order correctly recognizes this distinction and the fact

 that Plaintiffs’ discovery motions are non-dispositive. ECF No. 91. However, the February 27

 Order erroneously held Cox to the higher “compelling governmental interest” standard. Order at

 3 (“it is clear that the defendants have failed to establish the existence of a ‘compelling

 governmental interest’ for having these materials filed under seal … .”). Judge Anderson’s

 apparent reasoning for applying this standard was that the district court and the Fourth Circuit in




                                                -8-
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 9 of 11 PageID# 2613



 the BMG litigation “considered those documents in making dispositive rulings.” Id.

        The application of the more stringent standard was contrary to law. Plaintiffs sought to file

 the exhibits in connection with discovery motions, which are non-dispositive. See ECF No. 91 at

 1; Wash. Post, 386 F.3d at 580 (“we have never held that the public has a First Amendment right

 of access to a pretrial hearing on a non-dispositive civil motion or to the transcript of such a

 hearing”). Therefore, with respect to the portions of those documents that were not quoted in prior

 BMG rulings, Cox should only have had to articulate particular reasons why its countervailing

 interests outweigh the less stringent presumption of public access. Id. at 575. Cox did so by

 submitting detailed memoranda, supported by evidence, that the exhibits at issue contained Cox’s

 confidential and commercially-sensitive competitive information.

                                           CONCLUSION

        For all of the reasons set forth herein, Cox respectfully objects to Judge Anderson’s Order

 and requests that the Court seal exhibits and portions of exhibits as set forth below and in the

 concurrently-filed Proposed Order:

               PX 1330 in its entirety;

               PX 1456 in its entirety; and

               The bottom of Page 2 and Page 3 of PX 1340 (highlighted version with proposed

                redactions will be separately submitted to the Court for review).



 Dated: March 13, 2019

                                                      Respectfully submitted,

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                                                -9-
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 10 of 11 PageID# 2614



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                                         - 10 -
Case 1:18-cv-00950-LO-JFA Document 117 Filed 03/13/19 Page 11 of 11 PageID# 2615



                                 CERTIFICATE OF SERVICE

 I hereby certify that on March 13, 2019, the foregoing was filed and served electronically by the
 Court’s CM/ECF system upon all registered users.


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                                               - 11 -
